     Case 1:07-cv-01205-LG-RHW             Document 391         Filed 04/09/10      Page 1 of 6




                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              SOUTHERN DIVISION


GARY BRICE MCBAY                                                                        PLAINTIFF

V.                                                 CIVIL ACTION NO. 1:07CV1205-LG-RHW

HARRISON COUNTY, MISSISSIPPI BY AND
THROUGH ITS BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF GEORGE PAYNE;
WAYNE PAYNE; DIANE GATSON RILEY;
STEVE CAMPBELL; RICK GATSON; RYAN TEEL;
MORGAN THOMPSON; JOHN DOES 1-4;
AMERICAN CORRECTIONAL ASSOCIATION;
JAMES A GONDLES, JR.; UNKNOWN DEFENDANTS
1-3 EMPLOYEES OF AMERICAN CORRECTIONAL
ASSOCIATION; HEALTH ASSURANCE LLC AND
UNKNOWN DEFENDANTS 1-2 EMPLOYEES OF
AMERICAN CORRECTIONAL ASSOCIATION                                                   DEFENDANTS


     RESPONSE TO PLAINTIFF’S MOTION IN LIMINE TO BAR DEFENDANT’S
     EVIDENCE AND REFERENCE TO PLAINITFF’S HOSPITALIZATION FOR
                      ALCOHOL RELATED ISSUES

       COMES NOW Defendant, Sheriff George Payne, Jr. (“Payne”), in his official capacity, by

and through his attorneys, Dukes, Dukes, Keating & Faneca, P.A., and files this Response to

Plaintiff’s Motion in Limine to Bar Defendant’s Evidence and Reference to Plaintiff’s

Hospitalization for Alcohol Related Issues [DN365] and in support of said Response would show

unto this Court as follows, to wit:

                                                  I.

       The Plaintiff’s assertion that any evidence or reference to Plaintiff’s hospitalizations and

treatment and/or incidents for alcohol related issues should be barred, as they are not relevant and

that these alcohol related issues “have nothing to do with the issues sub judice” focuses solely on the
    Case 1:07-cv-01205-LG-RHW              Document 391         Filed 04/09/10      Page 2 of 6




liability issue and ignores their relevance and probative value regarding the Plaintiff’s future lost

wages damages claim, and damages sought for the alleged emotional and physical injuries as

follows:

       a).     Plaintiff claims (as reported to his vocational expert Ross Tingle), that as a result of

               this November 6, 2005, incident, he consumes more alcohol than before this incident;

               and, (See Ross Tingle’s Report attached hereto as Exhibit “A”).

       b).     Plaintiff claims that he will suffer approximately $1, 500, 000.00 in future loss wages

               because, as a result of the November 6, 2005, incident, he will never be able to work

               again as an independent catastrophic event property damage adjuster. (See

               Culbertson’s Report attached hereto as Exhibit “B”).

                                                 II.

       It is the Defendant’s position that Plaintiff, before this November 6, 2005, incident, could not

independently work as a catastrophic property damage adjuster and that these pre-incident alcohol

hospitalization/treatment/incidents provide relevant and probative evidence as to the Plaintiff’s pre-

incident inability to travel to, temporarily reside at storm locations and then independently perform

property damage adjusting.

       For example:

       1.)     Plaintiff’s deposition T.105, L. 22-24 (See Depo. Exhibit “C”)

               Q.      You drank a lot for a long time, way before this happened, didn’t you?

               A.      No.

       2.)     Plaintiff’s deposition T. 111, L. 22- T. 112, L. 1 (See Exhibit “C”)

               Q.      What period of time were you drinking to much?


                                                  2
Case 1:07-cv-01205-LG-RHW           Document 391       Filed 04/09/10       Page 3 of 6




        A.     Afterwards.

        Q.     But not before?

        A.     No.

  3.)   On December 23, 2003, Plaintiff was riding a train en route to Washington state to

        join his father to assist in performing winter storm property damaging adjusting,

        when Plaintiff got off the train in San Antonio, TX. That evening, Plaintiff was

        found unconscious in the street in front of a bar near the train station. The hospital

        records indicate that the Plaintiff was unconscious, had lacerations to his right

        jaw/mouth, and had a .507 blood alcohol content. Plaintiff recovered, returned home

        and did not proceed to Washington to work with his father. (See Plaintiff’s depo. and

        Christus Santa Rosa Hospital records collectively attached hereto as Exhibit “D”)

  4.)   On June 5, 2005 ( four months prior to this November 6, 2005, incident) Plaintiff was

        self admitted to the Cedars Hospital in his home town of Desoto, TX for alcohol

        addiction treatment. (See Cedars Hospital records attached hereto as Exhibit “E”).

        Plaintiff checked out of Cedars Hospital on June 7, 2005. The psychiatric evaluation

        notes from Cedars Hospital, contains the following:

        a).     “employed in insurance, traveling, 5 yrs., impaired functioning at work-

               “doesn’t complete responsibilities, consumes case of beer/day (12 oz. cans)...”

        b).    “doesn’t know how to communicate in life in general”.

  CURRENT STRESSORS: job, social skills

        c).    Discharge summary:

               Initial diagnosis:


                                          3
    Case 1:07-cv-01205-LG-RHW               Document 391         Filed 04/09/10      Page 4 of 6




                           Current GAF1 is 35, highest past year is 50.

                       Discharge diagnosis:

                           Current GAF is 45, highest past year is 50.

                       (See Global Assessment Functioning Scale attached hereto as Exhibit “F”).

       In the Southern District of Mississippi case of Darrell M. Knox v. Jose Ferrer, M.D., et al.,

2008 U.S. Dist. LEXIS 102179 (S.D. Miss., Sept. 2008), the Court upheld the Plaintiff’s In Limine

Motion to exclude evidence of Plaintiff’s alcohol use prior to the motor vehicle accident at issue,

finding that the Defendants failed to produce evidence that Plaintiff’s consumption of alcohol was

relevant to any issue in the case.

       However, the Knox Court did cite with approval, the case of Haney v. Mizell Memorial

Hospital, 744 F.2d 1467, 1475 (11th Cir. 1984). In Haney, the Court upheld the Trial Court’s

allowing Plaintiff’s previous history of alcohol and drug use into evidence, explaining at page 1475;

“Moreover, the district court found that the challenged testimony was admissible, and perforce,

relevant, to rebut testimony offered by Haney pertaining to his lifestyle and quality of life before the

accident...We will not disturb that finding”. Further, at page 1476, “As we have seen, Haney

explicitly prayed for damages to compensate him for mental anguish, rehabilitation care, and loss

of future earnings. Obviously, his discussion with Dr. Gilgun about his alcohol and drug use was

not only relevant to these claims, but was inextricably bound to them”.




       1
         GAF - Global assessment of functioning- scale used to assess psychological status,
ranging from 1 (lowest level of functioning) to 100 (highest level), measuring psychological and
occupational functioning. (Mosby’s Medical Dictionary 8th edition, 2009).

                                                   4
    Case 1:07-cv-01205-LG-RHW              Document 391        Filed 04/09/10       Page 5 of 6




                                                 III.

       Defendant agrees that these pre November 6, 2005, records are not relevant to the Plaintiff’s

claim that he suffered a constitutional violation at the hands of a HCADC Deputy November 6,

2005, and that these records and references should not be used for that purpose. However, these

records are relevant and probative to rebut Plaintiff’s claim that he could, before the November 6,

2005, incident, work independently as a catastrophic property damage adjuster and that the incident

at the HCADC caused him emotional damages, future loss of wages, and caused him to consume

more alcohol after this incident.

       WHEREFORE PREMISES CONSIDERED, Defendant respectfully requests that the Court

deny Plaintiff’s Motion in Limine [DN365] to bar Defendant’s evidence or references to Plaintiff’s

pre November 6, 2005, hospitalizations for alcohol related issues, and any other relief this Honorable

Court deems appropriate.

       RESPECTFULLY SUBMITTED, this the 9th day of April, 2010.

                                               GEORGE PAYNE, JR., IN HIS OFFICIAL
                                               CAPACITY ONLY, Defendant


                                               DUKES, DUKES, KEATING & FANECA, P.A.



                                               BY:       /s/Cy Faneca

                                               CY FANECA




                                                  5
    Case 1:07-cv-01205-LG-RHW              Document 391      Filed 04/09/10     Page 6 of 6




                                CERTIFICATE OF SERVICE



       I, CY FANECA, do hereby certify that I have this day electronically filed with the Clerk of

the Court using the ECF system which sent notification of such filing to the following:



               Patrick R. Buchanan
               Steven B. Dick
               Mark Watts
               P.O. Box 1377
               Biloxi, MS 39533
               Attorneys for Plaintiff

               Karen J. Young
               P.O. Box 1076
               Gulfport, MS 39502
               Attorney for Harrison County

               James L. Davis
               Ian A. Brendel
               P.O. Box 1521
               Gulfport, MS 39502
               Attorneys for Morgan Thompson


       This, the 9th day of April, 2010.



                                              s/CyFaneca___________________________
                                              CY FANECA
Cy Faneca, MSB #5128
Haley N. Broom, MSB #101838
Joe C. Gewin, MSB #8851
DUKES, DUKES, KEATING AND FANECA, P.A.
Post Office Drawer W
Gulfport, Mississippi 39502
Telephone: (228) 868-1111
Facsimile:    (228) 863-2886


                                                6
